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                   Exhibit 16
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA


    In Re: Oil Spill by the Oil Rig "Deepwater       MDL NO. 2179
    Horizon'' in the Gulf of Mexico, on April
    20,2010                                           SECTION J

    This document relates to all actions.        HONORABLE CARL J.
                                                     BARBIER

                                                 MAGISTRATE JUDGE
                                                     SHUSHAN


1
2
3
4
5
6                    DECLARATION OF ROMAN L. WElL
7
8                                FEBRUARY 18, 2013
9




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10   QUALIFICATIONS
11
12   I am the V. Duane Rath Professor Emeritus of Accounting at the Chicago Booth School
13   of Bus iness of the University of Chicago. During the academic year 2012-13, I am visit-
14   ing professor at the Rady School of the University of California, San Diego. I am a Pro-
15   gram Fellow at Stanford University Law School.
16
17   J received a BA in Economics and Mathematics from Yale University in 1962. I received
18   an MS in Industrial Administration in 1965 and a Ph.D. in Economics in 1966, both from
19   Carnegie-Mellon University. I joined the faculty at the University of Chicago in 1965,
20   where I have held positions in Mathematical Economics, Management and Information
21   Sciences, Accounting, and in the Law School.
22
23   I have been a CPA in Illinois since 1973. I have served on the faculties of the Georgia
24   Institute ofTechnology, New York University Law School, and at Stanford University in
25   its Graduate School of Business, Economics Department and Law School.
26
27   I have co-edited four professional reference books on topics for McGraw-Hill, Simon &
28   Schuster, Prentice Hall, and John Wiley & Sons. I have co-authored over a dozen text-
29   books for Holt, Rinehart and Winston; The Dryden Press; Harcourt Brace Jovanovich;
30   Thomson Learning; and Cengage Learning. I am the senior editor of, and contributor to,
31   the Litigation Services Handbook, now in its fifth edition. My articles have appeared in
32   Barron 's and The Wall Street Journal. I have published over 80 articles in academic and
33   professional journals. I have served as the principal investigator on various research pro-
34   jects of the National Science Foundation.
35
36   J have served on the Financial Accounting Standards Advisory Council. I have testified
37   to a Congressional Committee about the setting of accounting principles. I currently
38   serve on the Standing Advisory Group of the Public Company Accounting Oversight
39   Board. I have consulted with government agencies, including the U.S. Treasury Depart-
40   ment and the Securities and Exchange Commission, and a variety of other clients. I serve
41   on the Board of Directors of mutual funds affiliated with New York Life Insurance Com-
42   pany and have chaired the Audit Committee. I currently chair the Compliance and Risk
43   Committee.
44
45   I have attached to this report my academic curriculum vitae, as Appendix A, which con-
46   tains a list of all my publications, a list of my sworn testimony within the past four years
47   as Appendix B, and a list of documents I have considered or relied upon in this matter as
48   Appendix C.
49
50
51   ASSIGNMENT
52
53   Counsel for BP Exploration & Production Inc., BP America Production Company, and
54   BP p.l.c. ("Defendants") has asked me to comment on the implementation of the Deep-
55   water Horizon Economic and Property Damages Settlement, as amended on May 2, 2012


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56     ("Settlement Agreement"). Specifically, counsel asked me to consider Class Counsel's
57     interpretation of the Business Economic Loss Framework ("BEL Framework") 1 that
58     Class Counsel proposed and which the Claims Administrator2 adopted. Then, counsel
59     has asked me to answer the following questions:
60
61
62                I.      What is the purpose of the BEL Framework?
63                II.     What methods does the BEL Framework use to attempt to achieve
64                        the BEL's purpose?
65                III.    When can Class Counsel's interpretation work? When does it not
66                        work to achieve the purpose?
67                IV.     Will BP's approach achieve the BEL Framework 's purpose and be
68                        consistent with the BEL Framework's definition of Variable Prof-
69                        it?
70                V.      Would you expect the accountants and related professionals re-
71                        tained by the Claims Administrator to be able to perform the anal-
72                        yses and calculations for the BP approach?
73
74
75     ANSWERS AND ANALYSIS
76
77                I.      What is the purpose of the BEL Framework?
78
79                        The purpose of the BEL Framework is to "compensate claimants
80                        for any reduction in profit between the 20 10 Compensation Period
81                        selected by the claimant and the comparable months of the Bench-
82                        mark Period" (Step 1) as well as "for incremental profits or losses
83                        the claimant might have been expected to generate in the absence
84                        of the spill relative to sales from the Benchmark Period" (Step 2). 3
85
86                        Accountants typically use the word profit to mean "the excess of
87                        all revenues and gains for a period over all expenses and losses of
                                      4
88                        the period," where they "measure revenue as the expected net
89                        present value of the net assets the firm will receive." The BEL
90                        Framework appears to use profit and Variable Profit to refer to the


       1
           Settlement Agreement, Exhibits 4A through 4E.
       2
          Class Counsel Memorandum, "Request for Formal Policy Statement: Monthly Revenue," December 16,
          2012; see also Memorandum from Patrick A. Juneau to Class Counsel and BP, January 15,2013, "An-
          nouncement ofPoliey Decision Regarding Claims Administration."
       3
         Settlement Agreement, Exhibits 4C. The computation of incremental profits (as determined in Step 2) is a
       mechanical addition to the lost profits, which I do not analyze further.
       4
        R.L. Weil, K. Schipper and J. Francis: Financial Accounting: An Introduction to Concepts, Methods, and
       Uses (14th Edition), South-Western, Cengage Learning, 2014, p. 795.
       s !d. p. 814.

                                                           2
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 91                        same concept. 6 But, the BEL Framework uses the term Variable
 92                        Profit as a specialized construct designed for the Framework,
 93                        which I discuss in the next section. Also, in the next section, I
 94                        draw the distinctions between revenues and receipts on the one
                                                                              7
 95                        hand and expenses and expenditures on the other.
 96
 97                        The BEL Framework focuses on revenues and expenses, notre-
 98                        ceipts and expenditures, which netted, we can call net funds flow or
 99                        net cash flow. The BEL Framework does not attempt to compen-
100                        sate claimants for the shortfall in the net receipts of funds between
101                        the Benchmark and Compensation Periods.
102
103                        I therefore read the basic purpose of the BEL Framework (and the
104                        matter at issue before the Court) to be to compensate claimants for
105                        the difference in profits between the Benchmark Period and the
106                        Compensation Period.
107
108              II.       What methods does the BEL Framework use to attempt to achieve the
109                        BEL's purpose?
110
111                        The BEL Framework attempts to achieve the BEL's purpose by compar-
112                        ing past performance to post-spill performance using a claimant's Variable
113                        Profit in comparable months.
114
115                        The BEL Framework says to measure Variable Profit by computing these
116                        steps:
117                               (1) Sum the monthly revenue over the period.
118                               (2) Subtract the corresponding variable expenses from rev-
119                               enue over the same time period.
120
121                        The BEL Framework specifically refers in (1) to revenue. Accountants
122                        "(d)o not confuse [revenue] with receipt of funds, which may occur before

        6
          The BEL Framework uses the word term actual profit in the first line of Exhibit 4C, then uses the word
        profit in the second line of text. Four lines later, it uses the term Variable Profit. I read the BEL Frame-
        work to use actual profit, profit, and Variable Profit to refer to the same accounting construct. Actual prof
        it refers to this construct for the Compensation Period, while profit refers to both the Benchmark and Com-
        pensation Periods. Variable Profit refers to both the measurement in the Benchmark Period and the meas-
        urement in the Compensation Period. When the BEL Framework focuses on the defined costs to exclude
        ftom the measurements, it uses Variable Profit. Profit, without the modifying adj ective, appears to refer to
        the general concept, before it's being limited with the exclusion of the defined fixed costs, so that the re-
        maining costs subtracted are the defined variable costs.
        I interpret these three terms to refer to the concept of profit as defined in Section I. That definition provides
        consistency with the stated purpose of the BEL Framework.
        7
         1 have attached to this Declaration an Appendix 0--a Glossary for the terms ftom the BEL Framework that
        have common meanings in accounting. I have quoted, but not exclusively, ftom my own textbooks and
        professional reference books. I've been using these definitions since about 1975 in over forty editions of
        various books.

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                                                                         8
123                     [or] when or after revenue is recognized."
124
125                    The BEL Framework specifically refers in (2) to corresponding variable
126                    expenses. Exhibit 4D lists, and defines solely by listing, the specialized
                                                                                     9
127                    construct of variable expenses designed for the Framework.
128
129                    Variable Profit is revenues minus (defined) corresponding variable ex-
130                    penses. It starts with revenue and subtracts the corresponding (accountants
131                    more often would say "matched") variable expenses. Variable Profit is not
132                    a technical term in accounting, but one the BEL Framework defines, clear-
133                    ly, for use in this matter.
134
135                    BP's interpretation is consistent with Variable Profit as the BEL Frame-
136                    work defines it.
137
138                    Accountants distinguish between a revenue (occurs when we deliver
139                    goods or render services and get some asset, perhaps not cash, in return)
140                    and a receipt (inflow of cash). That is, we can have an inflow of cash
141                    without simultaneously delivering goods or services to customers. We
142                    might collect the cash in advance (as a landlord collects before Jetting the
143                    tenant use the property) or a month after we deliver the goods (as in most
144                    transactions where the customer accepts the goods today and promises to
145                    pay later).
146
147                    Revenue is a technical term in accounting and its meaning does not change
148                    as a function of where professionals use it. Revenue does not mean receipt.
149
150                    Accountants distinguish between an expense (a gone asset) and an ex-
151                    penditure (gone cash). 10 That is, we can have gone cash without having
152                    gone assets. Consider, for example, the expenditure of cash to pay the rent
153                    for two months in advance. Cash is gone, but another asset, Prepaid Rent,
154                    takes it place. The entity has no reduction in assets. When the entity uses
155                    the rental property, it will use up the asset Prepaid Rent and report ex-
156                    pense. Expense is gone asset, which might be cash; expenditure is gone
157                    cash, but might not be expense.
158
159                     The BEL Framework refers to revenues, not receipts, and to correspond-
160                     ing variable expenses, not to corresponding variable expenditures. Class

      8 Wei!, R.L., K. Schipper, and J. Francis, Financial Accounting: An Introduction to Concepts. Methods. and

      Uses (14th Edition), South-Western, Cengage Learning, 2014, p. 814.
      9 The BEL Framework refers to variable expenses in the body of Exhibit 4C and variable costs in Exhibit

      40.
      10
        To cover all possible transactions, the definition of expense must be "gone net assets," as sometimes one
      has an accounting expense matched with an increase in a liability (for example, the accrual of wages paya-
      ble), not the reduction in some asset. Net assets= assets -liabilities.

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161                         counsel's interpretation of the BEL Framework confuses revenues with
162                         receipts and expenses with expenditures.
163
164                         Class Counsel quotes ( 1) and (2), as I have in lines 117-119, but adds:
165
166                               The term "corresponding variable expenses" refers to the variable
167                               expenses that correspond to "the same time period", (not the
168                               variable expenses that might or might not "correspond" to the
                                            11
169                               revenue).
170
171                         The BEL Framework says that we want to subtract corresponding variable
172                         expenses for the same time period, rather than subtract corresponding ex-
173                         penditures. Accounting terminology does not define, nor can I ever recall
174                         having seen used, the term variable expenditures. Class Counsel's inter-
175                         pretation, in effect, equates variable expenses with this hypothetical ac-
176                         counting concept, not with the defined list of expenses enumerated in the
177                         BEL Framework's Exhibit 4D. Class Counsel's interpretation of the term
178                         "corresponding variable expenses" to mean expenditures causes the distor-
179                         tions in the compensation of some BEL claimants, which are not con-
180                         sistent with the purpose ofthe BEL Framework.
181
182                         The BEL Framework invokes profit; profit means revenues minus expens-
183                         es, not receipts minus expenditures. The BEL Framework uses the word
184                         corresponding. The more conventional accounting word is matching, but
185                         these mean the same thing. Accountants say that we have not properly
186                         measured income as revenues less expenses unless the expenses measure
187                         the assets used to generate the revenues. We say we match efforts tore-
188                         wards; we match expenses to revenues so that any one project has a single
189                         rate of return, no matter which of the time slices of that project we exam-
190                         ine.
191
192
193                Ill.     When can Class Counsel's interpretation work? When does it not
194                         work to achieve the purpose?
195
196                         It Can Work. Class Counsel's interpretation, although generally
197                         wrong, achieves the purpose of the BEL Framework when current
198                         period expenditures naturally match current period receipts. In
199                         other words, Class Counsel's interpretation achieves the BEL
200                         Framework's purpose for businesses for which the cash expendi-
201                         tures match the returns on those expenditures in the same time pe-
202                         riod. Class Counsel's interpretation achieves the BEL Frame-
203                         work's purpose when cash basis accounting functions in the same
204                         way as accrual basis accounting, by matching efforts and the re-

        11
             Class Counsel added the italicized emphasis and underlining, which are not in the BEL Framework.

                                                              5
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205                      turns on those efforts. A restaurant provides a good example of re-
206                      ceipts matching accrual accounting's revenues and expenditures
207                      matching accrual accounting's expenses. The restaurant pays for
208                      labor and food in the same accounting period as it collects cash for
209                      the sales of food.
210
211                      Because the BEL Framework's definition of Variable Profit ex-
212                      cludes costs such as depreciation on buildings, hotels provide an-
213                      other good example where receipts from hotel guests match accru-
214                      al accounting's revenues and expenditures for labor and supplies
215                      match accrual accounting's expenses.
216
217                      It Doesn't Work. Class Counsel's interpretation does not work to
218                      the degree that the timing of expenditures to achieve an effort dif-
219                      fers from the timing of receipts-the rewards for those efforts.
220                      Class Counsel's interpretation when applied in these contexts leads
221                      to nonsense. 12
222
223                      The clearest difference in patterns of expenditures and receipts
224                      arises for contingent fee litigation by a plaintiff law finn. The law
225                      finn spends effort over several years to file a case, gather docu-
226                      ments, take depositions, go to trial, deal with appeals, and finally,
227                      some years later, collects a portion of the judgment.
228
229                      Other examples in this matter with patterns of expenditures deviat-
230                      ing from pattern of receipts involve
231
232                          •    fanning efforts where expenditures occur throughout a crop
233                               year, but receipts come at the end of the crop year, when
234                               the fanner takes his crop to market,
235
236                          •    construction projects where expenditures for projects occur
237                               regularly through time in patterns that differ from the pat-
238                               terns of receipts of progress payments made by the custom-
239                               ers 13
                                     '
240

      12
         Mr. Sider's report provides data that suggest to me that 40% of dollars offered through the BEL Frame-
      work have been made to claimants in industries where Class Counsel's interpretation does not work. Dec-
      laration ofHal Sider, February 18,2013 at Table 2; ~ 13.
      13
         In a typical construction project a customer signs a contract with the contractor. The contract typically
      provides that the customer will make payments over time, called progress payments. The contractor agrees
      to build the item according to specification and incurs costs over time to build the item. As the contractor
      incurs costs, he makes payments to his suppliers and labor force. If the pattern of progress payments were
      to match the pattern of contractor expenditures, Class Counsel's interpretation would work. But in many
      cases, including several I've seen in Mr. Hall' s analysis, the patterns differ so drastically that the rates of
      return by period fluctuate substantially. See Declaration ofDavid A. Hall, January 23, 2013.

                                                             6
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241                    •   manufacturing companies where expenditures for raw ma-
242                        terials and labor occur seasonally in patterns that differ
243                        from collection of cash after the manufacturer has complet-
244                        ed production and shipped the goods to the customer,
245
246                    •   retail companies where expenditures for inventory occur
247                        seasonally in patterns that differ from collections of cash
248                        after the customer has taken delivery of the goods, then
249                        pays later, and
250
251                    •   art galleries which acquire expensive works of art in one
252                        period and sell them for cash in a different period.
253
254                When patterns of receipts as rewards for efforts differ from the pat-
255                terns of expenditures to achieve those rewards, then taking a small
256                time slice, such as a few months (or in some cases, even a year),
257                and computing returns based on receipts less expenditures in that
258                time slice will show wildly different rates of return (the ratio of re-
259                ceipts to expenditures for example) for the various time slices.
260
261                That rates of return differ over time for a given project signals that
262                the measuring device is faulty. Any one project has a single rate of
263                return:
264
265                (Total receipts for the project- Total expenditures for the project)
266
267                            Total receipts for the project
268
269                So, if we choose a method that reports rates of return that fluctuate
270                through time for a given project, we chose a fau lty method.
271
272                Example. Consider a project with inflows over two periods of 125
273                and outflows over two periods of I 00. The rate of return for this
274                project is
275
276                20% = (125 - 100) / 125.
277
278                Now, suppose the pattern of cash receipts and expenditures for this
279                project, with periodic rates of return, is:
280




                                                  7
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                                    Period 1       Period 2          Total

                Receipts                  45             80            125

                Expenditures              40             60            100

                Distorted Rate
                of Return             11.1%          25.00/0

                Accurate Rate
                of Return                                           20.00/0
281
282
283             If the rate of return over two periods is 20 percent, and we choose
284             a method that shows about an 11 percent return in one period, then
285             that same method will show about a 25 percent return in the second
286             period. If we then get to choose which of the two periods we con-
287             sider the Benchmark Period, then we'll choose the second period,
288             which signals a benchmark return of 25 percent. Allowing claim-
289             ants to use Class Counsel's interpretation and choose the second
290             period to set benchmark rates of return wi 11 enable them to over-
291             claim relative to the actual rates of return. If the pattern of receipts
292             were more unbalanced relative to expenditures than the example
293             shows, the distortions grow.
294
                                    Period 1       Period 2          Total

                Receipts                  41             84            125

                Expenditures              40             60            100
                Distorted Rate
                of Return              2.4%          28.6%

                Accurate Rate
                of Return                                           20.0%
295
296
297             The BEL Framework allows a claimant to choose a Benchmark Pe-
298             riod that is shorter than the entire period over which that claimant's
299             efforts start and later reach fruition. Any sensible claimant would
300             select his Benchmark Period under the Class Counsel's interpreta-
301             tion in such a way that the measure focuses on the period with the
302             largest measured rate of return, ignoring the months which, when
303             included, reduce the average rate to the project's overall rate.
304
305             One can use the lessons of the preceding two examples to illustrate
306             the happenstance of applying Class Counsel's interpretation. Im-
307             agine that the first exhibit above results from the bank reconcilia-
308             tion statements of First Claimant and the second exhibit results
309             from the general ledger of a Second Claimant. We can see that

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310                    these two Claimants are in the same economic position with re-
311                    spect to the base periods and economic activities. But the Second
312                    Claimant gets to establish a larger base rate of return than does the
313                    first.
314
315                    Ideally, measurements of return for a project for time segments
316                    shorter than the entire life of the project should signal comparable
317                    rates. While achieving this goal as real time passes is hard, doing
318                    it after the fact, after we know all the data for a project, is a trivial
319                    undertaking for an accountant.
320
321                    BP's approach deals with the cases with mis-matched patterns of
322                    expenditures and receipts to achieve the purpose of the BEL
323                    Framework. 14
324
325
326           TV.      Will BP's approach achieve the BEL Framework's purpose and be
327                    consistent with the BEL Framework 's definition of Variable Prof-
328                    it?
329
330                    Yes. I believe they will, as BP's approach matches the pattern of
331                    revenues from a project to the pattern of expenses derived from the
332                    observed expenditures for that project.
333
334                    Using the distorting examples above, the BP approach implements
335                    the BEL Framework, as below.
336
                                            Period 1        Period 2           Total

                       Receipts                   50              75             125

                       Expenditures               40              60             100

                       Accurate Rate
                       of Return              20.0%           20.00/o         20.00/o
337
338
339
340
341           v.      Would you expect the accountants and related professionals re-
342                   tained by the Claims Administrator to be able to perform the anal-
343                   yses and calculations for the BP approach?
344
345                    Yes.
346

      1
      ~ See Declaration of Hal Sider, February 18, 2013; BP's Response To Class Counsel's December 16, 2012
      Request for Policy Detennination, January 9, 2013.

                                                        9
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347                     Accountants routinely use analyses and calculations similar to the
348                     BP approach because accounting consists of matching benefits and
349                     the efforts required to generate those benefits. Income tax ac-
350                     counting, cost accounting, fmancial reporting-all of these require
351                     the accountants to match some measure of benefits with some
352                     measure of efforts. The measures differ across applications, but
353                     the processes require the same techniques and training. For exam-
354                     ple, in preparing tax returns, an accountant matches a person or
355                     business' taxable income across the jurisdictions in which it was
356                     earned. 15 For cost accounting purposes, the accountant matches a
357                     company's cost of sales and overhead among the various products
                                               16
358                     a company produces. For financial reporting purposes, the ac-
359                     countant matches revenues to the period earned and expenses to
360                     the period incurred. 17 Thus, those trained in accounting have
361                     learned to match patterns of effort with rewards for those efforts.
362
363                     BP's approach requires some judgments in executing the pieces
364                     that require adjustments for the " irregular or extraordinary cost en-
365                     tries." The exercise of those judgments is the quintessence of ac-
366                     counting professionalism. The accountants will do the matchings
367                     to reflect the business purposes, based on objective data from each
368                     of the businesses, of the expenditures. In contrast, the Class Coun-
369                     sel interpretation advocates whimsy, random, and capricious com-
370                     putations that result from the use of distorted measurements of
371                     rates of return, as I illustrated in Section Ill.
372
373                    Class Counsel 's interpretation also would not require the skills of a
374                    professional accountant, only those of a data entry clerk. But I un-
375                    derstand the parties to this matter have retained two large, compe-
376                    tent accounting firms to do the computations required by the BEL
377                    Framework. These professionals can easily implement the BP ap-
378                    proach. And I see no reason why those professionals would have
379                    been hired if the work required only clerical tasks, not the applica-
380                    tion of tools these professionals use day-to-day in their auditing
381                    and consulting work.
382
383                     I am confident that the professional accountants retained by the
384                     Claims Administrator can do the computations. They have been
385                     learning how to do these procedures from their first weeks of their


      IS See, for example, Anderson, John E., Public Finance Principles and Policy (2nd Edition), South-Western,
      Cengage Learning, 2012, pp. 494-495.
      16
        See, for example, Maher, Michael W., Stickney, C.P. and R.L. Wei!, Managerial Accounting: An Intro-
      duction to Concepts, Methods and Uses {11th Edition), South-Western, Cengage Learning, 2012, pp. 36-37.
      17
        See, for example, Wei!, R.L., K. Schipper, and J. Francis, Financial Accounting: An Introduction to Con-
      cepts, Methods, and Uses (14th Edition), South-Western, Cengage Learning, 2014, p. 26-27.

                                                          10
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386                    first accounting courses. Making such matchings have become so
387                    routine that many accountants don't even think about iL Much as
388                    you and I have made breathing so routine that we rarely think
389                    about the pwcess.
390
39 1
392
393    CONCLUSION
394
395    I beJieve that the Class Counsel's interpretation does not achieve rational results for
396    claimants, such as for professionals, farmers, contractors and manufacturers, whose pat-
397    terns of cash in fl ows do not match the patterns of cash outflows to achieve the efforts. l
398    believe that BP's approach will come closer to achieving the results demanded by ac-
399    counting theory and the BEL Framework.
400
401    I affirm that I wrote this declaration and believe it to be true.
402

:~ (/)
1~~ \_MA ~
407    Roman L. Weil
408    February 18, 2013




                                                      11
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ROMAN L. WEIL                                                                            APPENDIX A

Professor Emeritus
Booth School of Business
University of Chicago
5807 S. Woodlawn Avenue
Chicago IL 60637
(773) 702-7261, Fax (206) 202-2114
Roman.Weil@ChicagoBooth.edu

DEGREES AND CERTIFICATES

B.A., Yale University, 1962; Economics and Mathematics.
M.S., Carnegie Mellon University, 1965; Industrial Administration.
Ph.D., Carnegie Mellon University, 1966; Economics.
CPA, State of Illinois, 1973; #239.002457
CMA, 1974-2007


ACADEMIC AFFILIATIONS

1965–          Instructor and Assistant Professor of Mathematical Economics (1965–70), Associate
               Professor of Management and Information Sciences (1970–76), Professor of Accounting
               and Sigmund E. Edelstone Professor of Accounting (1976–97), V. Duane Rath Professor
               [Emeritus since 2008] of Accounting (1997– ), and Director of The Institute of
               Professional Accounting (1978–89), Lecturer in Law (1988–89, 2000–01, 2008), Director
               of Directors’ College (1998–2002) and Director of The Directors’ Consortium (2002– ) at
               The University of Chicago. Emeritus (2008-- )

2012-          Visiting Professor, Rady School of Management, University California, San Diego

2005-          Visiting Professor, Visiting Scholar, University of Washington, Seattle

2008           Visiting Profesor, Haas School of Business, Univ California, Berkeley

2008-          Program Fellow, Stanford University Law School.

2009           Visiting Professor, Harvard Law School

2009           Visiting Professor, Tepper School of Business, Carnegie Mellon University

2009           Visiting Professor, King Fahd University of Petroleum and Minerals

2010           Visiting Professor, Princeton Universty, Department of Economics

2010-11        Visiting Professor of Accouting, Taxation, and Law, Stern School of Business,
               New York University

2011           Adjunct Professor, Cox School of Business, Southern Methodist University




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ROMAN L. WEIL                                                                               APPENDIX A

1990–95         Visiting Professor of Law, Stanford University Law School. (Edwin A. Heafey, Jr.
                Visiting Professor in 1991 and 1992.)

1985            George R. Olincy Visiting Professor of Accounting and Law, New York University School
                of Law.

1984, 1985, 2004         Visiting Professor of Accounting, Visiting Professor of Economics, Stanford
                         University, Economics Department and Graduate School of Business..

1974–76         Mills B. Lane Professor of Industrial Management, College of Industrial Management,
                Georgia Institute of Technology.

1963–65,        Instructor of Mathematics and Economics, Visiting Associate Professor of
1971–72         Industrial Administration, Carnegie-Mellon University.




PROFESSIONAL SOCIETIES AND SERVICE

American Accounting Association (Associate Editor of The Accounting Review, 1975–79; Committee to Nominate
Outstanding Contributions to the Accounting Literature, 1975–76; Resource Allocation Committee, 1976–77;
Outstanding Educator Committee, 1982–83; 1983–84); American Economic Association; American Institute of
Certified Public Accountants; Association of Computing Machinery (Department Editor of Communications of ACM,
1971–73); The Institute of Management Sciences (Associate Editor of Management Science, 1970–76, Insurance
Liaison Designate, 1972– ); National Association of Accountants; Illinois Society of CPAs (Committee on
Accounting Principles, 1976–77); Securities and Exchange Commission, Advisory Committee on Replacement Cost
Implementation, 1976–77; Editorial Board of Journal of Accounting and Economics, 1979–81; Editorial Board of
Financial Analysts Journal, 1980–88; American Assembly of Collegiate Schools of Business Accounting
Accreditation Committee, 1987–88. Financial Accounting Standards Board: Task Force on Consolidations, 1985–89;
Task Force on the Role of Discounting in Accounting, 1989– ; Financial Accounting Standards Advisory Council,
1989–93 . Task Force on Financial Instruments, 1994–97. Steering Committee of the American Assembly’s Program
on the Future of the Accounting Profession, 2001– . Investment Company Institute, Director Services Committee,
2002–2004; Independent Directors’ Council, 2004– . Mutual Fund Directors’ Forum, 2003 .

CORPORATE GOVERNANCE

Public Company Accounting Ovesight Board, Standing Advisory Group, 2012-2013.

MainStay Group of funds—advised by New York Life Investments LLC.
      MainsStay VP Series Fund, 1994-2007. Chairman of Audit Committee, 1995-2007.
      MainStay Group of Funds (consolidated Board of five registered fund companies,
             including MainStay VP Series Fund Inc.) 2007- . Member, Consolidated Audit
             Committee; Audit Committee Financial Expert.

Stanford University Directors’ College
       Organizer, Chair, Panelist of Sessions on Audit Committee, Backdating Stock Options:
       1994–2006, continuing.

University of Chicago


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       Organizer and Director of Directors’ College, 1998–2002.
       Organizer and Director of Directors’ Consortium, 2002– .

Investment Company Institute, Independent Directors’ Council, 2004–2008 .

Ygomi, LLC
      Board member and chairman of Audit Committee, 2006– .

GRANTS

NDEA (TITLE IV) Pre-Doctoral Fellowship, 1962–1965.

Principal Investigator for National Science Foundation Grants on "Economic Programming" and
       "Inflation Accounting." July 1967 – March 1982.

Discounting in Accounting. Coopers & Lybrand, 1987–90.



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Sidney Davidson, Leon J. Hanouille, Clyde P. Stickney, Co-authors. Intermediate Accounting:
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      An Introduction to Concepts, Methods, and Uses, Hinsdale, IL: The Dryden Press, 1978,
      2nd ed., 1985; 3rd ed., 1988; San Diego: Harcourt, Brace, Jovanovich, 4th ed., 1991; Ft.
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      9th ed., 2006;10th ed., 2009; 11th ed., 2012.

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        1984; 7th ed., 1987; 8th ed., 1990; 9th ed., 1994; 10th ed, 1998; 11th ed, 2005.


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       Harcourt, Brace, Jovanovich, 6th ed., 1991; Ft. Worth, TX: The Dryden Press, 7th ed.,
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Michael W. Maher, Co-editor. Handbook of Cost Management, 2nd ed., New York: John Wiley
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Jack P. Friedman, Co-editor. Litigation Support Report Writing: Accounting, Finance, and
        Economic Issues, New York: John Wiley & Sons, 2003.

Peter B. Frank, David Hoffman, Christian W. Hughes, Daniel Lentz, and Michael J. Wagner, Co-
       editors. Litigation Services Handbook: The Role of the Accountant as Expert, New York:
       John Wiley & Sons, 1990, with annual supplements; 2nd ed., 1995; 3rd ed., 2001; 4th ed.,
       2006, 5th ed. 2013. [Other editors did not work on all editions.]

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Richard F. Vancil, Co-author. "Current Replacement Cost Accounting, Deferred Taxes, and
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ROMAN L. WEIL                                                                   APPENDIX A



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                                     APPENDIX B
      ROMAN L. WEIL- LISTING OF SWORN TESTIMONY IN THE LAST FOUR YEARS


 SEC v. Susan Skaer: Report Dated November 2012 and Deposition December 2012 for
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 San Fransisco Division, C 07-2822 (WHO)

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 Transportation Board, March 2012, Western Coal Traffic League Finance Docket 35506

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 Amphenol Netherlands Holdings 1 BV, Report Dated February 2012

 Confederated Tribes of the Warm Springs Reservations of Oregon v Citigroup Global
 Markets, Inc., Statement on Prejudgment Interest, July 2011

 SEC v. Lisa C. Berry: Deposition Spring 2011 Deposition for Defendant on Options
 Accounting, U.S. District Court Northern District of California, C-07-04431 RMW

 Securities and Exchange Commissoin v Don Watson, Report for Defendant on
 accounting principles, March 2011. U.S. District Court of Arizona, CV 09-443-PHX-
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 In Re: Alstom SA Securities Litigation, Master File No. 03-CV—6595(VM), U.S.
 District Court, Southern District of New York; Report and Deposition on adequacy of
 defendant’s disclosures in its Management, Discussion, and Analysis. For Plaintiff.
 November 2010.

 Potash Corporation of Saskatchewan, Inc., Civil Action No. 1:10-CV-06024, U.S.
 District Court for Northern District of Illinois, Eastern Division. Report and Deposition
 for plaintiff on adequacy of defendant’s disclosures in its Management, Discussion, and
 Analysis. For Plaintiff. October 2010.

 Hanesbrands, Inc. vs. Sara Lee Corporation, CPR Institute for Dispute Resolution; Report
 and testimony on closing balance sheet with emphasis on meaning of deferred income tax
 balances. For defendant. July 2010.

 In re: Francisco Partners, et al. v. Alan Perkins, American Arbitration Association, Case
 No. 74-148-Y—00432-09 02 GLO; Report and testimony on closing balance sheet and
 revenue recognition. For Plaintiff. June 2010
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                                    APPENDIX C
             ROMAN L. WEIL- DOCUMENTS CONSIDERED OR RELIED UPON


 Documents

 Deepwater Horizon Economic and Property Damages Settlement Agreement As
      Amended on May 2, 2012

 Class Counsel Memorandum, “Request for Formal Policy Statement: Monthly Revenue,”
        December 16, 2012

 BP’s Response To Class Counsel’s December 16, 2012 Request for Policy
       Determination, January 9, 2013

 Memorandum from Patrick A. Juneau to Class Counsel and BP, January 15, 2013,
      “Announcement of Policy Decision Regarding Claims Administration”

 Declaration of David A Hall., January 23, 2013

 Delaration of Hal Sider, February 18, 2013



 FASB Concept Statements

 Financial Accounting Standards Board Concept Statement No. 5 (As Amended):
        Recognition and Measurement in Financial Statements of Business Enterprises,
        1984.

 Financial Accounting Standards Board Concept Statement 6 (As Amended): Elements of
        Financial Statements, 1985.


 Texts

 Maher, M.W., C.P. Stickney, and R.L. Weil, Managerial Accounting: An Introduction to
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 R.L. Weil and M.W. Maher, Handbook of Cost Management (2nd edition), John Wiley &
       Sons, 2005.

 Weil, R.L., K. Schipper and J. Francis, Financial Accounting: An Introduction to
        Concepts, Methods, and Uses (14th Edition), South-Western, Cengage Learning,
        2014.

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                                    APPENDIX C
             ROMAN L. WEIL- DOCUMENTS CONSIDERED OR RELIED UPON


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 Kieso, D., J. Weygandt and T. Warfield, Intermediate Accounting, (14th edition), John
        Wiley & Sons, 2012.

 Anderson, John E., Public Finance Principles and Policy (2nd Edition), South-Western,
       Cengage Learning, 2012.




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                                   APPENDIX D
   ROMAN L. WEIL - GLOSSARY OF ACCOUNTING TERMS USED IN THE BEL FRAMEWORK

The following are terms and their definitions taken from the cited textbooks and
professional reference books.


Profit


“Present practice accepts a variety of terms for net income, profit, net loss, and
other equivalent terms will continue to be used in financial statements as names for
earnings.”
Financial Accounting Standards Board Concept Statement No. 5 (As Amended):
      Recognition and Measurement in Financial Statements of Business
      Enterprises, 1984, p. 12 (italics added).

“profit. Excess of revenues over expenses for a transaction; sometimes used
synonymously with net income for the period.”

R.L. Weil and M.W. Maher, Handbook of Cost Management, (2nd edition), John
      Wiley & Sons, 2005, p. 112 (emphasis in original).
“profit Excess of revenues over expenses for a transaction; sometimes used
synonymously with net income for the period, especially under IFRS.”

Maher, M.W., C.P. Stickney, and R.L. Weil, Managerial Accounting: An
     Introduction to Concepts, Methods and Uses, (11th edition), South-Western,
     Cengage Learning, 2012, p. 579 (emphasis in original).
“profit Excess of revenues over expenses for a transaction; sometimes used
synonymously with net income for the period, especially under IFRS. ‘Profit’ is a
credit balance. Many writers and top accountants misleadingly use terminology
such as ‘distribute profits.” This usage confuses because the firm paying a
dividend distributes cash or other assets, with a credit to the retained earnings
(retained profits) account. Careful users do not say ‘distribute profits,’ but even
top standard setters sometimes do: ‘. . . no accounting standard can or should seek
to define what element of profits can be distributed.’ The lay reader will think that
the company distributes some amorphous thing called ‘profits,’ rather than think
the company distributes cash or other assets generated by activities that result in
reported profits.”




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Weil, R.L., K. Schipper and J. Francis, Financial Accounting: An Introduction to
      Concepts, Methods, and Uses (14th Edition), South-Western, Cengage
      Learning, 2014, pp. 805-806 (emphasis in original).



Revenue
“Revenues are inflows or other enhancements of assets of an entity or settlements
of its liabilities (or a combination of both) from delivering or producing goods,
rendering services, or other activities that constitute the entity’s ongoing major or
central operations.”

Financial Accounting Standards Board Concept Statement 6 (As Amended):
      Elements of Financial Statements, 1985, p. 30, Par. 78.

“Revenues represent actual or expected cash inflows (or the equivalent) that have
occurred or will eventuate as a result of the entity's ongoing major or central
operations.”

Financial Accounting Standards Board Concept Statement No. 6 (As Amended):
      Elements of Financial Statements, 1985, p. 30, Par. 79.

“Revenues measure the inflows of net assets from selling goods and providing
services (that is, assets less liabilities).”
Stickney, C.P. and P.R. Brown, Financial Reporting and Statement Analysis: A
      Strategic Perspective, (4th edition), The Dryden Press, 1999, p. 22.

 “Revenues Increases in assets or settlements of liabilities from ongoing
operations.”

Libby, R., P. Libby and D.G. Short, Financial Accounting, (7th edition), McGraw-
      Hill/Irwin, 2011, p. G-4 (emphasis in original).
“REVENUES. Inflows or other enhancements of assets of an entity or settlements
of its liabilities (or a combination of both) during a period from delivering or
producing goods, rendering services, or other activities that constitute the entity’s
ongoing major or central operations.”

Kieso, D., J. Weygandt and T. Warfield, Intermediate Accounting, (14th edition),
      John Wiley & Sons, 2012, p. 55 (emphasis in original).


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“revenue The owners' equity increase accompanying the net assets increase
caused by selling goods or rendering services; in short, a service rendered; sales of
products, merchandise, and services and earnings from interest, dividends, rents,
and the like. Conceptually (in contrast to specific guidance in accounting
standards) measure revenue as the expected net present value of the net assets the
firm will receive. Do not confuse with receipt of funds, which may occur
before, when, or after revenue is recognized. Contrast with gain and income.
See also holding gain. Some writers use the term ‘gross income’ synonymously
with revenue; avoid such usage.”
Weil, R.L., K. Schipper and J. Francis, Financial Accounting: An Introduction to
      Concepts, Methods, and Uses (14th Edition), South-Western, Cengage
      Learning, 2014, p. 814 (italics in original; bold added).
“revenue The owners' equity increase accompanying the net assets increase
caused by selling goods or rendering services; in short, a service rendered; sales of
products, merchandise, and services and earnings from interest, dividends, rents,
and the like. Conceptually (in contrast to specific guidance in accounting
standards) measure revenue as the expected net present value of the net assets the
firm will receive. Do not confuse with receipt of funds, which may occur
before, when, or after revenue is recognized. Contrast with gain and income.
See also holding gain. Some writers use the term ‘gross income’ synonymously
with revenue; avoid such usage.”
Maher, M.W., C.P. Stickney, and R.L. Weil, Managerial Accounting: An
     Introduction to Concepts, Methods and Uses, (11th edition), South-Western,
     Cengage Learning, 2012, p. 588 (italics in original; bold added).
“revenue The owners' equity increase accompanying the net assets increase
caused by selling goods or rendering services; in short, a service rendered; sales of
products, merchandise, and services and earnings from interest, dividends, rents,
and the like. Conceptually (in contrast to specific guidance in accounting
standards) measure revenue as the expected net present value of the net assets the
firm will receive. Do not confuse with receipt of funds, which may occur
before, when, or after revenue is recognized. Contrast with gain and income.
See also holding gain. Some writers use the term ‘gross income’ synonymously
with revenue; avoid such usage.”

R.L. Weil and M.W. Maher, Handbook of Cost Management, (2nd edition), John
      Wiley & Sons, 2005, p. 126 (italics in original; bold added).


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Expense
“Expenses are outflows or other using up of assets or incurrences of liabilities (or a
combination of both) from delivering or producing goods, rendering services, or
carrying out other activities that constitute the entity's ongoing major or central
operations.”

Financial Accounting Standards Board Concept Statement 6 (As Amended):
      Elements of Financial Statements, 1985, p. 31, Par. 80.

“Expenses represent actual or expected cash outflows (or the equivalent) that have
occurred or will eventuate as a result of the entity's ongoing major or central
operations.”

Financial Accounting Standards Board Concept Statement 6 (As Amended):
      Elements of Financial Statements, 1985, p. 31, Par. 81.

“Expenses measure the outflows of net assets that a firm uses, or consumes, in the
process of generating revenues.”
Stickney, C.P. and P. Brown, Financial Reporting and Statement Analysis: A
      Strategic Perspective, (4th edition), The Dryden Press, 1999, p. 22.
 “Expenses Decreases in assets or increases in liabilities from ongoing operations
incurred to generate revenues during the period.”

Libby, R., P. Libby and D.G. Short, Financial Accounting, (7th edition), McGraw-
      Hill/Irwin, 2011, p. G-2 (emphasis in original).

 “Expenses outflows or other using up of assets or incurrences of liabilities during
a period from delivering or producing good, rendering services, or other activities
that constitute the entity’s ongoing major, or central, operations.”

Nelson, M.W., J.F. Sepe and J.D. Spiceland, Intermediate Accounting, (7th
     Edition), McGraw-Hill/Irwin, 2013, p. G-2 (emphasis in original).

“EXPENSES. Outflows or other using-up of assets or incurrences of liabilities (or
a combination of both) during a period from delivering or producing goods,



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rendering services, or carrying out other activities that constitute the entity’s
ongoing major or central operations.”

Kieso, D., J. Weygandt and T. Warfield Intermediate Accounting, (14th edition),
      John Wiley & Sons, 2012, p. 55 (emphasis in original).

“expense As a noun, a decrease in owners' equity accompanying the decrease in
net assets caused by selling goods or rendering services or by the passage of time;
a "gone" (net) asset; an expired cost. Measure expense as the cost of the (net)
assets used. Do not confuse with expenditure or disbursement, which may
occur before, when, or after the firm recognizes the related expense. Use the
word ‘cost’ to refer to an item that still has service potential and is an asset.
Exceptions sometimes occur, as in Cost of Goods Sold. Use the word ‘expense’
after the firm has used the asset’s service potential. As a verb, ‘expense’ means to
designate as expenditure -- past, current, or future -- as a current expense.”
Weil, R.L., K. Schipper and J. Francis, Financial Accounting: An Introduction to
      Concepts, Methods, and Uses (14th Edition), South-Western, Cengage
      Learning, 2014, p. 772 (italics in original; bold added).
“expense As a noun, a decrease in owners' equity accompanying the decrease in
net assets caused by selling goods or rendering services or by the passage of time;
a "gone" (net) asset; an expired cost. Measure expense as the cost of the (net)
assets used. Do not confuse with expenditure or disbursement, which may
occur before, when, or after the firm recognizes the related expense. Use the
word ‘cost’ to refer to an item that still has service potential and is an asset.
Exceptions sometimes occur, as in Cost of Goods Sold. Use the word ‘expense’
after the firm has used the asset’s service potential. As a verb, ‘expense’ means to
designate as expenditure -- past, current, or future -- as a current expense.”
Maher, M.W., C.P. Stickney, and R.L. Weil, Managerial Accounting: An
     Introduction to Concepts, Methods and Uses, (11th edition), South-Western,
     Cengage Learning, 2012, p. 542 (italics in original; bold added).

“expense As a noun, a decrease in owners' equity accompanying the decrease in
net assets caused by selling goods or rendering services or by the passage of time;
a "gone" (net) asset; an expired cost. Measure expense as the cost of the (net)
assets used. Do not confuse with expenditure or disbursement, which may
occur before, when, or after the firm recognizes the related expense. Use the
word ‘cost’ to refer to an item that still has service potential and is an asset.
Exceptions sometimes occur, as in Cost of Goods Sold. Use the word ‘expense’


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after the firm has used the asset’s service potential. As a verb, ‘expense’ means to
designate as expenditure -- past, current, or future -- as a current expense.”

R.L. Weil and M.W. Maher, Handbook of Cost Management, (2nd edition), John
      Wiley & Sons, 2005, p. 60 (italics in original; bold added).



Corresponding (not a technical term in accounting, but has the same meaning
as the technical term matching)
“Matching Principle Requires that expenses be recorded when incurred in
earning revenue.”

Libby, R., P. Libby and D.G. Short, Financial Accounting, (7th edition), McGraw-
      Hill/Irwin, 2011, p. G-3 (emphasis in original).
 “matching convention The concept of recognizing cost expirations (expenses) in
the same accounting period during which the firm recognizes related revenues;
combining or simultaneously recognizing the revenues and expenses that jointly
result from the same transactions or other events.”
Weil, R.L., K. Schipper and J. Francis, Financial Accounting: An Introduction to
      Concepts, Methods, and Uses (14th Edition), South-Western, Cengage
      Learning, 2014, p. 793 (emphasis in original).

“matching convention The concept of recognizing cost expirations (expenses) in
the same accounting period during which the firm recognizes related revenues;
combining or simultaneously recognizing the revenues and expenses that jointly
result from the same transactions or other events.”
Maher, M.W., C.P. Stickney, and R.L. Weil, Managerial Accounting: An
     Introduction to Concepts, Methods and Uses, (11th edition), South-Western,
     Cengage Learning, 2012, p. 564 (emphasis in original).

“matching convention The concept of recognizing cost expirations (expenses) in
the same accounting period during which the firm recognizes related revenues;
combining or simultaneously recognizing the revenues and expenses that jointly
result from the same transactions or other events.”
R.L. Weil and M.W. Maher, Handbook of Cost Management, (2nd edition), John
      Wiley & Sons, 2005, p. 92 (emphasis in original).


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